Case 2:08-cr-00058-RLJ   Document 425 Filed 09/11/13   Page 1 of 14   PageID #:
                                     2269
Case 2:08-cr-00058-RLJ   Document 425 Filed 09/11/13   Page 2 of 14   PageID #:
                                     2270
Case 2:08-cr-00058-RLJ   Document 425 Filed 09/11/13   Page 3 of 14   PageID #:
                                     2271
Case 2:08-cr-00058-RLJ   Document 425 Filed 09/11/13   Page 4 of 14   PageID #:
                                     2272
Case 2:08-cr-00058-RLJ   Document 425 Filed 09/11/13   Page 5 of 14   PageID #:
                                     2273
Case 2:08-cr-00058-RLJ   Document 425 Filed 09/11/13   Page 6 of 14   PageID #:
                                     2274
Case 2:08-cr-00058-RLJ   Document 425 Filed 09/11/13   Page 7 of 14   PageID #:
                                     2275
Case 2:08-cr-00058-RLJ   Document 425 Filed 09/11/13   Page 8 of 14   PageID #:
                                     2276
Case 2:08-cr-00058-RLJ   Document 425 Filed 09/11/13   Page 9 of 14   PageID #:
                                     2277
Case 2:08-cr-00058-RLJ   Document 425 Filed 09/11/13   Page 10 of 14   PageID
                                   #: 2278
Case 2:08-cr-00058-RLJ   Document 425 Filed 09/11/13   Page 11 of 14   PageID
                                   #: 2279
Case 2:08-cr-00058-RLJ   Document 425 Filed 09/11/13   Page 12 of 14   PageID
                                   #: 2280
Case 2:08-cr-00058-RLJ   Document 425 Filed 09/11/13   Page 13 of 14   PageID
                                   #: 2281
Case 2:08-cr-00058-RLJ   Document 425 Filed 09/11/13   Page 14 of 14   PageID
                                   #: 2282
